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                          1                      UNITED STATES DISTRICT COURT
                          2                     CENTRAL DISTRICT OF CALIFORNIA
                          3                                  SOUTHERN DIVISION
                          4
                          5   SPEX TECHNOLOGIES, INC.,
                                                                     Case No. 8:16-CV-01790-JVS-AGR
                          6                     Plaintiff,           JOINT RULE 26(F) REPORT
                          7                                          Scheduling Conference:
                              v.                                     January 30, 2017 at 11:30 a.m.
                          8
                          9   KINGSTON TECHNOLOGY                    Before: The Hon. James V. Selna
                              CORPORATION, KINGSTON
                         10   DIGITAL, INC., KINGSTON
                         11   TECHNOLOGY COMPANY, INC.,
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                              IMATION CORPORATION,
                         12   DATALOCKER INC., DATA
                         13   LOCKER INTERNATIONAL, LLC,
                         14                     Defendants.
                         15
                         16   SPEX TECHNOLOGIES, INC.,
                                                                     Case No. 8:16-CV-01799-JVS-AGR
                                           Plaintiff,
                         17
                         18   v.
                         19
                              WESTERN DIGITAL
                         20   CORPORATION, WESTERN
                              DIGITAL TECHNOLOGIES, INC.,
                         21
                              HGST, INC.,
                         22
                                                Defendants.
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                          1   SPEX TECHNOLOGIES, INC.,
                                                                     Case No. 8:16-CV-01800-JVS-AGR
                          2                     Plaintiff
                          3
                              v.
                          4
                          5   TOSHIBA AMERICA
                              ELECTRONICS COMPONENTS
                          6   INC., TOSHIBA AMERICA
                          7   INFORMATION SYSTEMS, INC.,
                              TOSHIBA AMERICA, INC., AND
                          8   TOSHIBA CORPORATION,
                          9
                                                Defendants.
                         10
                         11   SPEX TECHNOLOGIES, INC.,
                                                                     Case No. 2:16-CV-07349-JVS-AGR
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                         12                     Plaintiff,
                         13
                              v.
                         14
                         15   APRICORN, INC.,
                         16                     Defendant
                         17
                              SPEX TECHNOLOGIES, INC.,
                         18                                          Case No. 8:16-CV-01805-JVS-AGR
                         19                     Plaintiff,
                         20   v.
                         21
                              INTEGRAL MEMORY PLC,
                         22
                         23                     Defendant.
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                          1          Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, Local Rule 26-
                          2    1, and the Court's October 27, 2016 Order Setting Rule 26(f) Scheduling Conference
                          3    (D.I. 24), Plaintiff SPEX Technologies, Inc. ("SPEX" or "Plaintiff") and Defendants
                          4    Toshiba America Electronic Components Inc., Toshiba America Information
                          5    Systems, Inc., and Toshiba Corporation (together, "Toshiba Defendants")1, Western
                          6    Digital Corporation, Western Digital Technologies, Inc., and HGST, Inc. (together
                          7    “Western Digital Defendants”), Imation Corporation (“Imation”), Kingston
                          8    Technology Corporation, Kingston Digital Inc., and Kingston Technology
                          9    Company, Inc., (together, “Kingston Defendants”), Apricorn (“Apricorn”), Integral
                         10    Memory, Inc. (“Integral Memory”), Datalocker, Inc. and Data Locker International,
                         11    LLC (together "Datalocker Defendants") (collectively, “Defendants”) ("Plaintiff"
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                         12    and "Defendants" are collectively referred to as the "Parties"), by and through their
                         13    respective counsel of record, conferred, starting on January 9, 2017, and discussed
                         14    the various procedural and substantive matters pertinent to the instant litigation and
                         15    hereby jointly submit this Joint Rule 26(f) Report.
                         16    I.    SYNOPSIS
                         17          Plaintiff’s statement: This is a patent litigation action. On September 28,
                         18    2016, SPEX filed complaints against Defendants alleging infringement of U.S.
                         19    Patent No. 6,088,802 (the "'802 patent") and U.S. Patent No. 6,003,135 (the "'135
                         20    patent") (collectively, the "patents-in-suit"). The patents-in-suit were originally
                         21    assigned to Spyrus, Inc. ("Spyrus"), which has designed, developed, and sold
                         22    hardware cryptographic products since 1992. SPEX was formed to facilitate
                         23    licensing of the technology developed and practiced by Spyrus in both domestic and
                         24    foreign markets.
                         25          The patents-in-suit claim computer devices that enable hardware encryption
                         26    functionality in peripheral and modular devices. The '802 patent claims variations
                         27    1
                                Plaintiff originally named Toshiba America, Inc. as a defendant, but all claims
                         28    against Toshiba America, Inc. have been dismissed. Case No. 8:16-cv-01800-JVS-
                               AGR (Dkt. No. 34).
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                          1    of a cryptographic peripheral device. In one variation, the device has (1) a hardware
                          2    cryptographic processor; (2) a desired functionality (such as mass storage); (3) an
                          3    interface between the cryptographic processor and desired functionality; (4) an
                          4    interface to a host computer (such as a USB or SATA interface); and (5) a mediating
                          5    interface to ensure data passes through the cryptographic processor. The '135 patent
                          6    claims variations of a cryptographic modular device that include a security module
                          7    and a module for performing a desired functionality (such as mass storage).
                          8          SPEX has asserted that Defendants' hardware cryptography computer storage
                          9    products, such as Defendants' encrypting USB flash drives and storage drives,
                         10    infringe the patents-in-suit. SPEX attached claim charts providing an example of
                         11    how Defendants' products infringe the patents-in-suit. SPEX has asserted that
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                         12    Defendants infringe the patents-in-suit both directly and by inducing others to
                         13    infringe the patents.
                         14          Defendants’ statement: These are actions for patent infringement brought by
                         15    SPEX against at least five different groups of defendants with respect to more than
                         16    130 different products, many of which have been available on the open market for
                         17    years. The patents-in-suit issued over sixteen years ago, and according to United
                         18    States and Patent and Trademark records, they were assigned to SPEX in 2015.
                         19    According to the Complaint, “SPEX was formed to facilitate licensing of the
                         20    technology” it now owns.
                         21          Defendants deny that they have committed any acts of patent infringement
                         22    relating to the patents-in-suit, whether directly, by inducement, or by contributory
                         23    infringement, and deny that Plaintiff is entitled to any damages or relief.
                         24    Furthermore, Defendants do not believe that Plaintiff’s description of the patents-in-
                         25    suit in Section I completely or accurately describes the subject matter of the claims
                         26    or the technology allegedly described therein, or that Plaintiff’s description supports
                         27    a proposed construction of any claim or claim term of the patents-in-suit. Moreover,
                         28    Defendants believe that the asserted claims are invalid on multiple grounds,

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                          1    including but not limited to prior art, and note that a third party with no relationship
                          2    to the Defendants has already filed an Inter Partes Review challenging the
                          3    patentability of all 39 claims of the ’802 patent.2
                          4    II.    LEGAL ISSUES
                          5           This is an action for patent infringement. The principal issues are likely to
                          6    be as follows:
                          7           1. Whether Defendants have infringed the patents-in-suit in violation of 35
                          8              U.S.C. §§ 271(a), (b);
                          9           2. Whether the patents-in-suit meet the conditions for patentability and
                         10              satisfy all of the requirements set forth in the provisions of 35 U.S.C. §§
                         11              101, 102, 103, and 112;
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                         12           3. The proper construction of the asserted claims of the patents-in-suit;
                         13           4. The scope of the asserted claims of the patents-in-suit;
                         14           5. If the patent is infringed and valid, the amount, if any, of SPEX's
                         15              damages under 35 U.S.C. § 284;
                         16           6. Whether attorneys' fees, costs, or expenses are recoverable under 35
                         17              U.S.C. §§ 284 and/or 285; and
                         18           7. Whether an issuance of a permanent injunction is appropriate under 35
                         19              U.S.C. § 283, especially given the lack of request for injunctive relief as
                         20              to certain defendants.
                         21    III.   DAMAGES
                         22           Plaintiff’s statement: Defendants do not publicly disclose their revenue or
                         23    sales for the products accused of infringement by SPEX. SPEX cannot therefore
                         24    provide a realistic range of provable damages. At this time, SPEX intends to seek
                         25    damages in the form of both a reasonable royalty and lost profits.
                         26
                               2
                         27     Imation has filed counterclaims seeking a declaratory judgment of non-
                               infringement and invalidity of the patents-in-suit. Imation also intends to file
                         28    petitions for Inter Partes review of both patents-in-suit by the end of February
                               2017, and to thereafter seek a stay of this action.
                                                                          3
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                          1           Defendants’ statement:      Defendants deny that SPEX is entitled to any
                          2    damages in this case, and will respond to any theories asserted by SPEX regarding
                          3    damages at an appropriate time. Defendants also reserve their right to recover
                          4    reasonable attorney’s fees, costs, and expenses in this case. At this time, Defendants
                          5    cannot provide the anticipated range of such fees and costs.
                          6    IV.    INSURANCE
                          7           The Parties are unaware of any insurance coverage relating to the subject
                          8    matter of this litigation.
                          9    V.     MOTIONS TO ADD PARTIES, AMEND PLEADINGS OR
                         10           TRANSFER VENUE
                         11           Plaintiff’s statement: SPEX does not currently believe it is likely that it will
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                         12    file a motion to (i) add other parties or claims or (ii) file amended pleadings or (iii)
                         13    transfer venue. SPEX, however, reserves the right to file a motion to add other
                         14    parties or claims, or amend its pleadings if the need become apparent through
                         15    discovery or other proceedings.
                         16           Defendants’ statement: Defendants do not currently intend to file a motion
                         17    to (i) add other parties or claims, (ii) file amended pleadings, or (iii) transfer venue.
                         18    However, Defendants reserve their right to file amended answers to the extent they
                         19    discover facts that may give cause to add other parties or support additional
                         20    defenses to Plaintiff’s claims.
                         21    VI.    DISCOVERY PLAN
                         22           A.     Changes to Disclosures under Rule 26(a)
                         23           The Parties do not believe that any changes to the disclosures under Rule 26(a)
                         24    are necessary.
                         25           B.     Subjects on Which Discovery May Be Needed and Whether
                         26           Discovery Should Be Phased
                         27           The Parties do not propose phasing discovery.
                         28

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                          1          The Parties expect that discovery may be needed on at least the following
                          2    subjects:
                          3                • The patents-in-suit;
                          4                • The file histories of the patents-in-suit;
                          5                • The prosecution of the patents-in-suit;
                          6                • Ownership of the patents-in-suit;
                          7                • Conception and reduction to practice of the alleged inventions claimed
                          8                   in the patents-in-suit;
                          9                • Plaintiff’s earliest knowledge of the allegedly infringing products;
                         10                • Defendants' knowledge of the patents-in-suit;
                         11                • Licensing of the patents-in-suit;
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                         12                • Validity or invalidity of the patents-in-suit;
                         13                • Prior art references relating to the patents-in-suit;
                         14                • The accused products;
                         15                • Defendants' development, production, and sales of the accused
                         16                   products;
                         17                • Defendants' patent licensing practices/activities;
                         18                • Any affirmative defenses ultimately raised by Defendants;
                         19                • Any counterclaims ultimately raised by Defendants;
                         20                • The basis for Plaintiff’s infringement allegations against the
                         21                   Defendants;
                         22                • The state of the prior art in the field to which the patents-in-suit relate;
                         23                • The enforceability of the patents-in-suit;
                         24                • The valuation and purchase of the patents-in-suit;
                         25                • Compliance or non-compliance with the requirements of 35 U.S.C. §
                         26                   287, whether by Plaintiff or any predecessors-in-interest of the patents-
                         27                   in-suit;
                         28                • Plaintiff’s request for an award of damages;

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                          1                • Plaintiff’s licensing practices;
                          2                • Plaintiff’s licensing, attempts to license, and/or to otherwise profit from
                          3                   the patents-in-suit;
                          4                • Royalties and/or licensing fees relating to the patents-in-suit;
                          5                • Commercial embodiments of the patents-in-suit and sales of such
                          6                   commercial embodiments;
                          7                • Plaintiff’s attempts to enforce the patents-in-suit;
                          8                • Challenges to the validity of the patents-in-suit;
                          9                • The discussions and/or background alleged in Plaintiff’s complaint.
                         10          C.       Discovery Conducted So Far
                         11          The Parties agreed to exchange initial disclosures on January 23, 2017.
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                         12          D.       Orders
                         13          Plaintiff’s position: SPEX requests that the Court enter an order
                         14    consolidating the above-captioned cases for pretrial purposes.3
                         15          Defendants’ position: For pre-trial purposes only, Defendants do not oppose
                         16    consolidation. Defendants oppose consolidation for anything other than pre-trial
                         17    purposes.
                         18          E.       Changes to Limitations On Discovery
                         19               1. Interrogatories: The Parties agree that Plaintiff may serve up to 15
                         20    common interrogatories on all Defendants, and up to 15 additional individual
                         21    interrogatories on each Related Defendant Group.4 Defendants may serve up to 15
                         22    common interrogatories on Plaintiff, and each Related Defendant Group may serve
                         23    up to 15 additional individual interrogatories on Plaintiff. The Parties further agree
                         24    that an interrogatory seeking information about each accused product relating to a
                         25    particular Related Defendant Group should not be counted as having distinct
                         26    3
                                CMS has not answered or otherwise responded to SPEX's complaint. SPEX is
                         27    currently in the process of seeking a default judgment against CMS.
                               4
                         28     A “Related Defendant Group” means a group of related defendants, such as the
                               Toshiba Defendants, that have been sued by Plaintiff.
                                                                           6
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                          1    subparts merely because it seeks information relating to multiple products.
                          2             2. Requests for Production: The Parties agree that there shall be no limit
                          3    on the number of Requests for Production.
                          4             3. Requests for Admission: The Parties agree that (i) Plaintiff may serve
                          5    up to 20 common requests for admission on all Defendants, and up to 30 additional
                          6    individual requests for admission on each Related Defendant Group, and (ii)
                          7    Defendants may serve up to 20 common requests for admission on Plaintiff, and
                          8    each Related Defendant Group may serve up to 30 additional individual requests
                          9    for admission on Plaintiff. The Parties further agree that there shall be no limit on
                         10    the number of requests for admission for purposes of document authentication.
                         11             4. Fact Deposition Time:
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                         12             Plaintiff's Proposal: Plaintiff proposes that each side be entitled to 150
                         13    total hours of fact deposition time, with that limit decreasing to 70 hours if only
                         14    one Related Defendant Group remains. Plaintiff further proposes that it be entitled
                         15    to a maximum of 70 hours of deposition time per Related Defendant Group, which
                         16    would be part of, not in addition to, its 150 total hours of fact deposition time. In
                         17    light of the overlap of facts and issues among the cases, Plaintiff believes the
                         18    Parties can work cooperatively to make discovery as efficient as possible. Plaintiff
                         19    believes that its proposal, which provides for over 21 full days of depositions,
                         20    allows Defendants more than enough time to take the necessary discovery.
                         21    Defendants' proposal, on the other hand, creates a big disparity between the
                         22    deposition hours available to the Parties. Because most of Plaintiff's deposition
                         23    will be of Defendants, Plaintiff will likely be effectively limited to the one hundred
                         24    (100) hours of party deposition time proposed by Defendants. Split across the 7
                         25    Related Defendant Groups, Plaintiff will only be entitled to about 2 days of
                         26    depositions per party. Defendants, on the other hand, will get one hundred (100)
                         27    hours of deposition time with Plaintiff's witnesses (over fourteen (14) full days)
                         28    plus an additional 130 hours with third parties (over eighteen (18) full days).

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                           1   Defendants' proposal is excessive and well-beyond the ten (10) deposition limit
                           2   allowed by the Federal Rules of Civil Procedure.
                           3         Defendants’ Proposal: Plaintiff has asserted two patents against the
                           4   Defendants, which collectively contain nearly 100 claims. Plaintiff has also
                           5   identified more than 130 products, across at least five different Related
                           6   Defendant Groups, as allegedly infringing the patents-in-suit. Given the
                           7   extensive number of accused products identified by Plaintiff, as well as the
                           8   potential number of patent claims that may be at issue, Plaintiff’s proposal
                           9   does not provide sufficient time for the Defendants to adequately address all
                         10    of the issues that will likely be relevant in the case, nor does it afford an
                         11    adequate opportunity for each individual Related Defendant Group to
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                         12    address issues that are unique to each individual defendant (such as
                         13    Plaintiff’s infringement allegations for each individual Related Defendant
                         14    Group). Furthermore, Plaintiff’s proposal to decrease its proposed limit “to
                         15    70 hours if only one Related Defendant Group remains” after other
                         16    defendants settle their cases would be logistically unworkable and
                         17    manifestly unfair. Under Plaintiff’s proposal, the remaining Defendant
                         18    Group could retroactively have its hours eliminated if the defendants who
                         19    settled their cases used 70 or more hours for discovery on issues that were
                         20    not relevant to the remaining Defendant Group.
                         21          Moreover, Plaintiff’s proposal does not account for numerous third
                         22    party depositions that will be necessary. For example, the patents-in-suit
                         23    name six individual inventors, each of which will need to be deposed by
                         24    Defendants. Defendants also expect to take depositions of multiple third
                         25    parties relating to published prior art and prior art systems relevant to the
                         26    patents-in-suit, as well as numerous third parties who may be knowledgeable
                         27    about the many background factual allegations in the Complaints, including
                         28    former employees or executives of Spyrus, Inc., to which the patents-in-suit

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                           1   were allegedly originally assigned; and third parties who may be
                           2   knowledgeable about the subsequent alleged assignment of the patents-in-
                           3   suit to SPEX.
                           4         Accordingly, the Defendants propose separate time limits for third
                           5   party depositions and party depositions as set forth below:
                           6         a)      Third Party Depositions
                           7                 (1)   Inventor depositions: 60 hours, divided into 10 hours for
                           8   each of the six named inventors
                           9                 (2)   Other third party depositions: 70 hours
                         10          b)      Party Depositions:
                         11                  (1)    Plaintiff may take 100 total hours of depositions of the
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                         12    Defendants’ witnesses, and Defendants may take 100 total hours of deposition
                         13    of Plaintiff’s witnesses.
                         14                  (2)   To the extent that Plaintiff proffers a single 30(b)(6)
                         15    witness to address issues that are not identical across all Related Defendant
                         16    Groups (for example, Plaintiff’s infringement allegations, alleged damages),
                         17    the Defendants would be entitled to take 2 common hours of deposition
                         18    testimony and 5 hours of deposition testimony per Related Defendant Group.
                         19    If Plaintiff proffers a 30(b)(6) witness for issues solely related to a single
                         20    Related Defendant Group, or for issues identical to all Defendants, the witness
                         21    would be deposed for 7 hours.
                         22          Absent consolidation, the defendants in each individual action would be
                         23    entitled to 70 hours of deposition time per case, resulting in at least 350 hours of
                         24    deposition across all five consolidated cases. Accordingly, Defendants’ proposal
                         25    outlined above would result in a significant reduction in the amount of deposition
                         26    time allowed under the Federal Rules of Civil Procedure if the cases were not
                         27    consolidated.
                         28               5. Expert Deposition Time

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                           1         Plaintiff's Proposal: Plaintiff proposes that, if an expert submits a report on
                           2   damages or infringement addressing more than one Related Defendant Group, the
                           3   expert may be deposed for up to 14 hours. Otherwise, they may be deposed for 7
                           4   hours. An expert that submits a report on validity or invalidity may be deposed for
                           5   a maximum of 7 hours.
                           6          Defendants’ Proposal: Plaintiffs’ expert deposition proposal would leave
                           7   each Related Defendant Group about two hours of individual deposition time to
                           8   explore Plaintiffs’ infringement theories, if Plaintiff were to submit a single
                           9   infringement expert report for all Defendants, thus substantially harming the
                         10    Defendants. To allow sufficient opportunity for each Related Defendant Group to
                         11    address issues that are not identical across all Defendants, Defendants propose the
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                         12    following:
                         13          a)     An expert that submits a report on alleged infringement and damages
                         14    may be deposed for 2 common hours plus 5 hours per Related Defendant Group
                         15    addressed in the report. To the extent that an expert submits a report on alleged
                         16    infringement for a single Related Defendant Group, the expert may be deposed for
                         17    7 hours.
                         18          b)     An expert who submits a report on invalidity or validity may be
                         19    deposed by the opposing side regarding that report for a total of 14 hours.
                         20          F.      Proposed Time of Expert Witness Disclosures
                         21          Please see Exhibit A to this Report.
                         22    VII. DISPOSITIVE MOTIONS
                         23          Plaintiff’s Position: SPEX anticipates it may file one or more motions for
                         24    summary judgment or adjudication at the appropriate time and reserves the right to
                         25    file additional motions as the case develops and the need arises. SPEX anticipates
                         26    that it will file motions in limine but does not yet know what the topics will be.
                         27          Defendants’ Position: Defendants anticipate filing one or more dispositive
                         28    motions for summary judgment or adjudication and reserve the right to file

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                           1   additional motions as the case develops and the need arises. Defendants further
                           2   anticipate that they will file motions in limine at the appropriate time.
                           3   VIII. STATEMENT REGARDING SETTLEMENT DISCUSSIONS
                           4          The Parties have had a limited preliminary discussion regarding possible
                           5   settlement.
                           6          The Parties agree to mediations before a private mediator in line with Local
                           7   Rule 16-15.4, ADR Procedure No. 3. Unless agreed by the Parties otherwise, the
                           8   Parties propose that the mediations be between each Related Defendant Group and
                           9   SPEX.
                         10    IX.    TRIAL
                         11           The Parties request a jury trial on issues to which a party is entitled to a jury.
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                         12           Plaintiff’s statement: SPEX expects to call between 4 and 8 witnesses at
                         13    each trial and expects each trial will last five to seven days.
                         14           Toshiba’s Defendants’ statement: The Toshiba Defendants estimate that
                         15    trial will be seven days and expect to call between 8 and 12 witnesses in their
                         16    individual trial.
                         17           Western Digital Defendants’ statement: The Western Digital Defendants
                         18    estimate that trial will be seven days and expect to call between 8 and 12 witnesses
                         19    in their individual trial.
                         20           Imation’s statement: Imation estimates that trial will be at least five days
                         21    and expects to call between 7 and 9 witnesses in its trial.
                         22           Kingston’s Defendants’ statement: The Kingston Defendants expect to call
                         23    between 4 and 8 witnesses in their individual trial.
                         24           Apricorn’s statement: Defendant Apricorn estimates that trial will be six to
                         25    seven days and expects to call between 6 and 9 witnesses in its individual trial.
                         26           Integral Memory’s statement: Defendant Integral Memory expects to call
                         27    between 4 and 6 witnesses in its trial.
                         28

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                           1         DataLocker Defendants’ statement: The DataLocker Defendants expect to
                           2   call between 4 and 6 witnesses in its trial.
                           3   X.    TIMETABLE
                           4         Please see Exhibit A for the Parties’ respective proposals regarding the
                           5   Schedule of Pretrial Dates. In addition, please see Exhibit B for the Parties’
                           6   respective proposals for other dates in the case.
                           7   XI.   OTHER ISSUES
                           8         Plaintiff’s Position: SPEX does not anticipate that discovery of its
                           9   information will require foreign discovery or witnesses that do not speak English.
                         10    SPEX understands that discovery from some of the Related Defendant Groups will
                         11    require foreign discovery and involve witness that may not speak English. SPEX
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                         12    has proposed a form of a confidential protective order and the Parties are currently
                         13    in negotiation regarding the proposed order.
                         14          As proposed above, to streamline discovery and pretrial rulings in the
                         15    Related Cases, SPEX proposes consolidating the Related Cases for pre-trial
                         16    purposes.
                         17          Defendants’ Position: As noted above, the Defendants do not oppose
                         18    consolidation of the Related Cases for pre-trial purposes only.
                         19          The Toshiba Defendants anticipate that this case may involve foreign
                         20    discovery and witnesses that do not speak English.
                         21          The Western Digital Defendants do not anticipate that this case will involve
                         22    foreign discovery or witnesses that do not speak English, but there is a possibility
                         23    that such discovery may become necessary.
                         24          The Kingston Defendants anticipate that this case may involve witnesses
                         25    that do not speak English.
                         26          Imation does not anticipate that this case will involve foreign discovery or
                         27    witnesses that do not speak English, but there is a possibility that such discovery
                         28    may become necessary.

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                           1         Defendant Apricorn does not anticipate that this case will involve foreign
                           2   discovery or witnesses that do not speak English, but there is a possibility that such
                           3   discovery may become necessary.
                           4   XII. CONFLICTS
                           5         Plaintiff: SPEX does not have a parent corporation and no publicly held
                           6   corporation owns 10% or more of its stock.
                           7         Toshiba Defendants: The Toshiba defendants identify the following parties:
                           8            • Toshiba Corporation: A named defendant and a publicly held
                           9                company incorporated under the provisions of the Commercial Code
                         10                 of Japan. No other publicly held corporation or other person owns
                         11                 10% or more of its stock.
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                         12             • Toshiba America Inc.: A wholly owned subsidiary of Toshiba
                         13                 Corporation and parent corporation of defendants Toshiba America
                         14                 Electronic Components, Inc., and Toshiba America Information
                         15                 Systems, Inc.
                         16             • Toshiba America Electronic Components, Inc.: A named defendant
                         17                 and wholly owned subsidiary of Toshiba America, Inc.
                         18             • Toshiba America Information Systems, Inc.: A named defendant and
                         19                 wholly owned subsidiary of Toshiba America, Inc.
                         20          Western Digital Defendants: The Western Digital Defendants identify the
                         21    following parties:
                         22             • Western Digital Corporation: A named defendant and publicly held
                         23                 company having no parent corporation or other publicly held
                         24                 corporation owning more than 10% of its stock.
                         25             • Western Digital Technologies, Inc.: A named defendant and wholly
                         26                 owned subsidiary of Western Digital Corporation.
                         27             • HGST, Inc.: A named defendant and wholly owned subsidiary of
                         28                 Western Digital Technologies, Inc.

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                           1         Kingston Defendants: Kingston Digital, Inc., and Kingston Technology
                           2   Company, Inc. are wholly owned subsidiaries of Kingston Technology
                           3   Corporation, which is a privately held corporation. No public corporation owns
                           4   10% or more of Kingston Technology Corporation.
                           5         Imation: Imation does not have a parent corporation and no publicly held
                           6   corporation owns 10% or more of its stock.
                           7         Apricorn: Apricorn has no parent corporation, and no publicly held
                           8   corporation owns 10% or more of its stock.
                           9         Integral Memory: Integral Memory, PLC is held by private corporations
                         10    Linden Investments LTD (85%) and Jayan Holdings LTD (15%), and no publicly-
                         11    held corporation owns ten percent (10%) or more of its stock.
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                         12          DataLocker Defendants: DataLocker Inc. is a privately held corporation and
                         13    DataLocker International LLC is a wholly owned subsidiaries of DataLocker Inc.
                         14    No public corporation owns 10% or more of DataLocker Inc.
                         15    XIII. PATENT CASES
                         16          The Parties propose that the Court conduct a claim construction hearing on a
                         17    term-by-term basis in accordance with the schedule provided in Exhibits A and B.
                         18    XIV. MAGISTRATES
                         19          The Parties do not consent to proceeding in front of a magistrate.
                         20
                         21
                         22     Dated: January 23, 2017            Respectfully submitted,
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